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           8                                    UNITED STATES DISTRICT COURT
           9                                    EASTERN DISTRICT OF CALIFORNIA
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          11   TIMOTHY C. NELSON,                                 Case No. 2:05-cv-1193 MCE-KJM
          12                       Plaintiff,
          13   v.                                                 ORDER GRANTING DEFENDANT
                                                                  CALVIN CHANG’S APPLICATION TO
          14   CITY OF DAVIS; JAMES HYDE,                         EXCEED COURT’S PAGE LIMIT ON
               individually and in his official capacity as       MOTION FOR SUMMARY JUDGMENT
          15   Chief of Police for the CITY OF DAVIS;
               SERGEANT JOHN WILSON, individually
          16   and in his official capacity as a Sergeant for
               the CITY OF DAVIS; CALVIN HANDY,
          17   SERGEANT MICHAEL MASON,
               OFFICER JAVIER BARRAGAN,
          18   OFFICER BRANDON JONES, OFFICER
               CALVIN CHANG, OFFICER M.
          19   GARCIA, individually and DOES 1-100,
               inclusive,
          20
                                   Defendants.
          21

          22

          23              The Application of Defendant Calvin Chang for permission to file a memorandum of

          24   points and authorities in support of his motion for summary judgment that is over 20 pages in

          25   length having been considered by this Court, satisfactory proof having been made and good cause

          26   appearing,

          27   ///

          28   ///

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           1              IT IS ORDERED that Defendant Calvin Chang may file a memorandum of points and

           2   authorities in support of his motion for summary judgment not to exceed thirty (30) pages in

           3   length.
               DATED: October 12, 2006
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           5                                          __________________________________
                                                      MORRISON C. ENGLAND, JR
           6                                          UNITED STATES DISTRICT JUDGE

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